Case 1:20-cv-03010-APM               Document 1079-2              Filed 12/04/24             Page 1 of 1




        On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                        the District of Columbia Bar does hereby certify that



                          Grace Arias Ramirez
      was duly qualified and admitted on August 31, 2022 as an attorney and counselor entitled to
       practice before this Court; and is, on the date indicated below, an Active member in good
                                           standing of this Bar.




                                                                              In Testimony Whereof,
                                                                          I have hereunto subscribed my
                                                                         name and affixed the seal of this
                                                                                Court at the City of
                                                                      Washington, D.C., on December 03, 2024.




                                                                               JULIO A. CASTILLO
                                                                                Clerk of the Court




                                                         Issued By:


                                                                            David Chu - Director, Membership
                                                                           District of Columbia Bar Membership




 For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                     memberservices@dcbar.org.
